Case 2:16-cv-08441-KM-JBC Document 28 Filed 04/25/18 Page 1 of 13 PageID: 380




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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY

   BRUCE E. ELLISON, M.D.,                )
                                          )
         Plaintiff,                       )
                                          ) Civil Action
   vs.                                    )
                                          ) 2:16-cv-08441-KM-JBC
   AMERICAN BOARD OF                      )
   ORTHOPAEDIC SURGERY, INC.,             )
                                          )
         Defendant.                       )
   _______________________________________)


                                 AMENDED COMPLAINT

          Bruce E. Ellison, M.D. (“Dr. Ellison” or “Plaintiff”) seeks declaratory and

   injunctive relief and damages against the American Board of Orthopaedic Surgery,

   Inc. (“ABOS” or “Defendant”), as follows:

                                   Nature of the Action

          1.     Dr. Ellison brings this action based on a federal antitrust law

   violation by the ABOS in restraining trade in his specialty of orthopedic surgery,

   in the State of New Jersey.

          2.     Concerted action by Defendant ABOS with one or more hospitals in

   New Jersey impose the requirement that Dr. Ellison must have Board Certification
Case 2:16-cv-08441-KM-JBC Document 28 Filed 04/25/18 Page 2 of 13 PageID: 381




   by Defendant ABOS in order to obtain medical staff privileges at those hospitals.

          3.       As a return benefit to hospitals, Defendant ABOS prevents Dr.

   Ellison from obtaining Board Certification by ABOS unless he first has hospital

   medical staff privileges, thereby reducing competition to hospitals by surgeons

   who practice exclusively at ambulatory surgery centers or elsewhere, as Dr.

   Ellison does.

          4.       The tying of these requirements makes it impossible for Dr. Ellison

   to obtain either medical staff privileges in northern New Jersey or Board

   Certification by Defendant ABOS, in violation of Section 1 of the Sherman Act.

          5.       Exceptions to those requirements are made for physicians who have

   recently completed their residency, which are inapplicable to Dr. Ellison at this

   stage in his career.

                                       The Parties

          6.       Plaintiff Dr. Ellison holds a medical license in good standing with

   the State of California, and currently sees patients in El Cerrito, Contra Costa

   County, and additional locations in California.

          7.       Defendant ABOS is a nonprofit entity incorporated in the State of

   Delaware.

          8.       The twelve active directors and officers of Defendant ABOS reside

   in nine different states. In addition, the two Directors-Elect reside in Tennessee

   and Pennsylvania, and the public member resides in Iowa.




                                             2
Case 2:16-cv-08441-KM-JBC Document 28 Filed 04/25/18 Page 3 of 13 PageID: 382




                                       Jurisdiction

          9.     This action arises under Section 16 of the Clayton Act, 15 U.S.C. §

   26, to secure equitable relief against a continuation of the violations by Defendant

   ABOS of Section 1 of the Sherman Act, 15 U.S.C. § 1, and under Section 4 of the

   Clayton Act, 15 U.S.C. § 15, to recover treble the amount of damages incurred by

   Plaintiff as a result of Defendant’s violations. Interstate commerce for medical

   services is substantially affected by Defendant’s conduct alleged herein. This

   court has subject matter jurisdiction here under 28 U.S.C. §§ 1331 and 1337(a).

                                          Venue

          10.    Venue is proper in the United States District Court for New Jersey,

   under 15 U.S.C. § 22 and 28 U.S.C. § 1391, because Defendant has encouraged

   and colluded with hospitals here in New Jersey to require Defendant’s Board

   Certification as a condition of medical staff privileges. In addition, Defendant

   administers a portion of its Board Certification examination here in New Jersey,

   conducts on-site reviews here, and garners substantial annual revenue directly

   from physicians located here.

                         Bylaws Requirements in New Jersey

          11.    The largest hospital system in New Jersey, RWJBarnabas Health,

   expressly requires Board Certification in order to obtain medical staff privileges.

          12.    This requirement by RWJBarnabas Health applies to the hospitals

   throughout its massive system, including the following hospitals:

          Clara Maass Medical Center, Belleville


                                             3
Case 2:16-cv-08441-KM-JBC Document 28 Filed 04/25/18 Page 4 of 13 PageID: 383




          Community Medical Center, Toms River
          Jersey City Medical Center, Jersey City
          Monmouth Medical Center Southern Campus, Lakewood
          Monmouth Medical Center, Long Branch
          Newark Beth Israel Medical Center, Newark
          Robert Wood Johnson University Hospital Hamilton
          Robert Wood Johnson University Hospital New Brunswick
          Robert Wood Johnson University Hospital Somerset
          Robert Wood Johnson University Hospital Rahway
          Saint Barnabas Medical Center, Livingston
          Barnabas Health Behavioral Health Center, Toms River
          The Bristol-Myers Squibb Children's Hospital at RWJUH, New Brunswick
          The Children’s Hospital of New Jersey at Newark Beth Israel Med. Center
          The Unterberg Children’s Hospital at Monmouth Medical Center

          13.     Rutgers University Hospital (“Rutgers”), located in Newark, New

   Jersey, likewise expressly requires Board Certification in order to obtain medical

   staff privileges.

          14.     Rutgers posts its requirements online, which expressly state that “the

   application shall not be processed” unless the applicant has “acquire[d] board

   certification by an ABMS or AOA specialty within seven (7) years of completion

   of residency training.”1 For medical doctors in the field of orthopedic surgery,

   such as Dr. Ellison, the American Board of Medical Specialties (“ABMS”)

   specialty society that issues Board Certification is Defendant ABOS.

          15.     St. Peter’s University Hospital, located in New Brunswick, New

   Jersey, likewise expressly requires Board Certification as a condition of obtaining

   medical staff privileges.

          16.     The foregoing requirements exclude Dr. Ellison from obtaining

   1
    http://www.uhnj.org/mdstfweb/documents/bylaws/Approved%20UH%20Medical%20Bylaws_3-16-
   2017.pdf (viewed Sept. 7, 2017).


                                               4
Case 2:16-cv-08441-KM-JBC Document 28 Filed 04/25/18 Page 5 of 13 PageID: 384




   medical staff privileges at the major hospitals in the regions of northern New

   Jersey served by the foregoing hospitals.

          17.    For reasons of professional growth and having relatives in New

   Jersey, Dr. Ellison seeks to apply and obtain medical staff privileges at one or

   more of the foregoing hospitals.

          18.    Dr. Ellison is prevented from obtaining such medical staff privileges,

   however, because Defendant ABOS will not allow him to take Part II of the

   examination in order to obtain Board Certification, and each of the foregoing

   hospitals requires Board Certification as a requirement for medical staff privileges.

          19.    A rejection of an application for medical staff privileges results in an

   automatic adverse entry in the National Practitioner Data Bank, which severely

   damages the reputation of a physician, and hence it is inadvisable for a physician

   such as Dr. Ellison to apply for medical staff privileges if a rejection is likely.

                                       Job Positions

          20.    Job openings for orthopedic surgeons in New Jersey typically

   require Board Certification or board eligibility, and typically require the

   attainment of medical staff privileges at a hospital.

          21.    Defendant ABOS’s exclusion of Dr. Ellison renders it impossible for

   him to obtain any of these jobs because of his lack of Board Certification or Board

   eligibility under Defendant ABOS’s rules.

                               Dr. Ellison’s Qualifications

          22.    Dr. Ellison is a highly qualified orthopedic surgeon, having obtained


                                               5
Case 2:16-cv-08441-KM-JBC Document 28 Filed 04/25/18 Page 6 of 13 PageID: 385




   an Engineering degree from the University of California at Berkeley, and a

   medical degree from Stanford University. Dr. Ellison successfully completed his

   residency in December 2002, and subsequently completed a fellowship in

   orthopedic surgery also.

          23.       Dr. Ellison has performed hundreds of arthroscopic surgeries,

   including shoulder, wrist, knee and ankle operations. He has also performed

   urgent and emergent surgeries, including fracture repair, during his years of

   providing orthopedic surgery emergency room coverage at Level 3 Trauma

   hospitals. He is a licensed Qualified Medical Evaluator performing Qualified

   Medical Evaluations (QME) and Independent Medical Examinations (IME).

          24.       In his entire career, Dr. Ellison’s surgeries have resulted in only one

   major complication, which was merely an infection that was cleared with standard

   follow-up treatment. This is a very low complication rate.

          25.       As an African American, Dr. Ellison is a member of the National

   Medical Association, which promotes the collective interests of physicians and

   patients of African descent. But Dr. Ellison has unfairly lost membership in the

   American Academy of Orthopaedic Surgeons, which requires ABOS Board

   Certification.

                                Defendant ABOS’s Business

          26.       Defendant ABOS conducts Board Certification and Maintenance of

   Certification (MOC) programs, at a substantial accounting profit.

          27.       Defendant ABOS arranges for the administration of its Board

                                               6
Case 2:16-cv-08441-KM-JBC Document 28 Filed 04/25/18 Page 7 of 13 PageID: 386




   Certification examinations at testing locations in New Jersey.

         28.    Defendant ABOS garners up to a million dollars or more annually in

   revenue directly from physicians located in New Jersey.

         29.    Defendant ABOS also communicates directly with hospitals and

   patients in New Jersey, providing an online list of which physicians hold Board

   Certification with the ABOS.

            Defendant ABOS’s Requirement of Medical Staff Privileges

         30.    In or about April 2012, Defendant ABOS began strictly requiring

   that physicians must have hospital admitting and surgical privileges for 20

   calendar months in order to take the ABOS oral examination for Board

   Certification, and began enforcing this requirement against physicians.

         31.    Defendant ABOS imposed this requirement of hospital admitting

   and surgical privileges in concert with hospitals, and this requirement restrains

   trade in an unreasonable manner because it arbitrarily excludes qualified

   physicians, including those who perform surgeries at ambulatory surgery centers,

   who had not been excluded under prior ABOS rules and procedures.

         32.    Many     physicians    who       obtain   ABOS   Board    Certification

   subsequently do not practice at hospitals, but operate at surgery centers

   exclusively, which illustrates that the requirement of hospital admitting privileges

   by Defendant ABOS is arbitrary and unreasonable.

         33.    This requirement of hospital admitting privileges by Defendant

   significantly reduces the supply of orthopedic surgeons who are available to

                                             7
Case 2:16-cv-08441-KM-JBC Document 28 Filed 04/25/18 Page 8 of 13 PageID: 387




   patients as consumers, and thereby reduces competition.

            34.    In addition, Defendant ABOS has acted in concert with health

   insurers and hospitals to “use Board Certification by [ABOS, an American Board

   of Medical Specialties] Member Board as an essential tool to assess physician

   credentials within a given medical specialty.”2

            35.    Defendant ABOS thereby interferes with the practice of orthopedic

   surgery by qualified, highly trained physicians.

                                    The Relevant Market

            36.    The relevant market consists of Board Certification for orthopedic

   surgeons as required by hospitals in northern New Jersey as a condition of

   practicing medicine there.

            37.    Alternatively, the relevant market consists of orthopedic surgery

   services provided at hospitals in northern New Jersey.

                                        Market Power

            38.    Defendant ABOS is the exclusive entity for issuing Board

   Certification to M.D.’s as recognized by hospitals in New Jersey, including the

   foregoing listed hospitals, and thus Defendant ABOS has 100% market power

   over the relevant market.




   2
       http://certificationmatters.org/faqs.aspx (viewed Sept. 4, 2017).


                                               8
Case 2:16-cv-08441-KM-JBC Document 28 Filed 04/25/18 Page 9 of 13 PageID: 388




                                      COUNT I
          (Restraint of Trade in Violation of Section 1 of the Sherman Act)

          39.    Plaintiff incorporates herein all statements and allegations contained

   in this Complaint.

          40.    For personal and professional reasons, Dr. Ellison would like to

   obtain medical staff privileges at a hospital in a metropolitan area in northern New

   Jersey, preferably Jersey City, Newark, or New Brunswick.

          41.    The hospitals in New Jersey to which Dr. Ellison seeks to apply

   require that he have Board Certification by the ABOS.

          42.    Dr. Ellison successfully passed the written portion of Defendant

   ABOS’s examination, also known as “Part I,” as required in order to become

   Board Certified by Defendant.

          43.    By passing the Part I examination, Dr. Ellison demonstrated his

   competency, as the Part I examination has had a lower overall pass rate than the

   Part II examination.

          44.    By letter dated April 2012, the Executive Director of ABOS

   expressly informed Dr. Ellison that “[t]he Credentials Committee of the American

   Board of Orthopaedic Surgery has approved your admission to the 2012 Part II

   Examination. … Your exam will be on July 24, 25 or 26 at the Palmer House

   Hilton in Chicago, Illinois.”

          45.    But subsequently Defendant ABOS refused to allow Dr. Ellison to

   take the Part II oral portion of its Board Certification examination, despite its prior



                                             9
Case 2:16-cv-08441-KM-JBC Document 28 Filed 04/25/18 Page 10 of 13 PageID: 389




   representation that he would be allowed to take the examination.

          46.    Defendant ABOS has restrained trade by acting in concert with

   hospitals for ABOS to require medical staff privileges as a condition of obtaining

   Board Certification, and for hospitals to require Board Certification by ABOS as a

   condition of granting medical staff privileges.

          47.    Defendant    ABOS’s      foregoing   actions   have   no   legitimate

   justification, and have been undertaken by ABOS with a pecuniary interest to

   persuade and coerce other entities, including hospitals, to require its Board

   Certification and MOC.

          48.    Upon information and belief, Defendant ABOS denies many other

   qualified physicians the ability to take the Board Certification examinations and

   thereby become Board Certified.

          49.    Defendant ABOS’s foregoing actions constitute an anticompetitive

   tying arrangement in violation of Section 1 of the Sherman Act.

          50.    Defendant ABOS’s actions significantly reduce the availability of

   physicians in the relevant market, which reduces patient choice and increases

   health care costs.

          51.    Defendant ABOS has undertaken its actions with a common design

   and understanding with hospitals to exclude some competent orthopedic surgeons

   from the relevant market, including Dr. Ellison.

          52.    Defendant ABOS’s agreements and concerted actions imposed, and

   continue to impose, an unreasonable restraint of trade.


                                            10
Case 2:16-cv-08441-KM-JBC Document 28 Filed 04/25/18 Page 11 of 13 PageID: 390




          53.    Defendant ABOS’s agreements and concerted actions are a per se

   violation of Section 1 of the Sherman Act because they are akin to a group boycott

   of a supplier, and thereby tend to restrict competition and decrease output with

   respect to medical services in the relevant market.

          54.    In the alternative, Defendant ABOS’s agreements and concerted

   actions violate Section 1 of the Sherman Act under the rule of reason, by

   unreasonably restricting the ability of Plaintiff and other similarly situated

   orthopedic surgeons to provide services in the relevant market.

          55.    Patients are unlikely to sue for their losses due to this antitrust

   violation, so there is no potential for duplicative recovery or complex

   apportionment of damages.

          56.    Defendant ABOS’s denial of Board Certification to Dr. Ellison has

   proximately caused him substantial losses in annual compensation, by preventing

   him from obtaining medical staff privileges at a hospital in a metropolitan area in

   northern New Jersey.

          57.    Dr. Ellison seeks a declaratory judgment that Defendant has violated

   Section 1 of the Sherman Act.

          58.    Dr. Ellison seeks an injunction against Defendant to require it to

   allow Dr. Ellison to take the oral examination part of its Board Certification.

          59.    Dr. Ellison seeks recovery of his losses in compensation as caused

   by Defendant ABOS.

          60.    Dr. Ellison seeks attorneys’ fees under Sections 4 and 16 of the


                                            11
Case 2:16-cv-08441-KM-JBC Document 28 Filed 04/25/18 Page 12 of 13 PageID: 391




   Clayton Act, 15 U.S.C. §§ 15, 26.

                                 Demand for a Jury Trial

          61.     Plaintiff hereby demands a jury trial pursuant to FED. R. CIV. P.

   38(b) for all issues triable by jury.

                                      Prayer for Relief

          Wherefore, Plaintiff respectfully requests the following relief:

          (i)     that this Court adjudge and decree that Defendant ABOS has

                  engaged in an unlawful conspiracy in restraint of trade in violation

                  of Section 1 of the Sherman Act;

          (ii)    that Defendant allow Plaintiff to take the oral examination, also

                  known as the Part II examination, to attain Board Certification;

          (iii)   that Defendant cease and desist from “tying” or requiring hospital

                  admitting and surgical privileges as a pre-condition for taking its

                  Board Certification examinations;

          (iv)    that Plaintiff recover damages for his losses caused by Defendant’s

                  restraint of trade; and

          (v)     that Plaintiff recover the cost of this suit together with reasonable

                  attorneys’ fees, and such other relief as found appropriate.

                                              Respectfully submitted,

                                              /s/ Andrew L. Schlafly

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                                             12
Case 2:16-cv-08441-KM-JBC Document 28 Filed 04/25/18 Page 13 of 13 PageID: 392




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   Dated: April 25, 2018




                                      13
